Case 2:15-cv-13249-PDB-RSW ECF No. 9, PagelD.24 Filed 03/08/16 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ROY TINCHER, JR.,

Plaintiff,
Case No. 2:15-cv-13249-PDB-RSW
VS.

Hon. Paul D. Borman
METROPOLITAN LIFE INSURANCE

COMPANY,
Defendant.

/
Greg Liepshutz (P37573) David M. Davis (24006)
Attorney for Plaintiff Attorney for Defendant
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/

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

NOW COME the Parties in the above action, by and through their respective
counsel, and stipulate and agree that this action should be DISMISSED WITH

PREJUDICE and without an award of interest, costs or attorney fees to either Party.

s/Greg Liepshutz s/David M. Davis
Greg Liepshutz David M. Davis
Attorney for Plaintiff Attorney for Defendant

Dated: March 4, 2016
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ROY TINCHER, JR.,

Plaintiff,
Case No. 2:15-cv-13249-PDB-RSW
vs.
Hon. Paul D. Borman
METROPOLITAN LIFE INSURANCE
COMPANY,

Defendant.
/

ORDER OF DISMISSAL WITH PREJUDICE

Upon the reading and filing
of the Parties stipulation:

IT IS HEREBY ORDERED AND ADJUDGED that this action be and hereby
is DISMISSED WITH PREJUDICE and without an award of costs, interest or
attorney fees to either Party.

This is a final Order resolving all claims and closing the case.

op.

United States District J udge

Dateg: MAR 0.8 2016

